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 8                         UNITED STATES DISTRICT COURT

 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,           ~ ED ~C F~No.~r O   ~     V O                         ~Pe :tl:
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11             Plaintiff,                  I N F O R M A T I O N

12                    v.                   [18 U.S.C. ~ 922(0)(1):
                                           Possession of Machineguns; 18
13   TIAN YING CHI,                        U.S.C. ~ 924(d)(1), 28 U.S.C.
                                           ~ 2461(c) Criminal Forfeiture]
14             Defendant.

15

16        The United States Attorney charges:

17                           [18 U.S.C. ~ 922(0)(1)]

18        On or about July 17, 2019, in San Bernardino County, within

19   the Central District of California, defendant TIAN YING CHI

20   knowingly possessed the following machineguns, as defined in

21   Title 18, United States Code, Section 921(a)(23) and Title 26,

22   United States Code, Section 5845(b), each of which defendant CHI

23   knew to be a machinegun:

24        1.    a 9mm fully automatic AR-style rifle;

25        2.    two Glock switch conversion devices that were designed

26   and intended for the sole purpose of converting a semi-automatic

27   handgun into an automatic machinegun; and

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 1        3.   one drop in auto sear, which was designed and intended

 2   for the sole purpose of converting a semi-automatic handgun into

 3   an automatic machinegun.

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 1                            FORFEITURE ALLEGATION

 2             [18 U.S.C. ~ 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of

 5   America will seek forfeiture as part of any sentence, pursuant

 6   to Title 18, United States Code, Section 924(d)(1), and Title

 7   28, United States Code, Section 2461(c), in the event of the

 8   defendant's conviction of the offense set forth in this

 9   Information.

10        2.    The defendant, if so convicted, shall forfeit to the

11   United States of America the following:

12              (a)   All right, title, and interest in any firearm or

13   ammunition involved in or used in such offense, including but

14   not limited to the following which were seized on July 17, 2019:

15                    i.    One 9mm fully automatic AR-style rifle, with

16   unknown manufacturer, bearing no serial number;

17                    ii.   Two Glock switch conversion devices that

18   were designed and intended for the sole purpose of converting a

19   semi-automatic handgun into an automatic machinegun;

20                    iii. One drop in auto sear, which was designed

21   and intended for the sole purpose of converting a semi-automatic

22   handgun into an automatic machinegun; and

23              (b)   To the extent such property is not available for

24   forfeiture, a sum of money equal to the total value of the

25   property described in subparagraph (a).

26        3.    Pursuant to Title 21, United States Code, Section

27   853(p), as incorporated by Title 28, United States Code, Section

28   2461(c), the defendant, if so convicted, shall forfeit

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 1   substitute property, up to the value of the property described

 2   in the preceding paragraph if, as the result of any act or

 3   omission of the defendant, the property described in the

 4   preceding paragraph or any portion thereof (a) cannot be located

 5   upon the exercise of due diligence; (b) has been transferred,

 6   sold to, or deposited with a third party; (c) has been placed

 7   beyond the jurisdiction of the court; (d) has been substantially

 8   diminished in value; or (e) has been commingled with other

 9   property that cannot be divided without difficulty.

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11                                     NICOLA T. HANNA
                                       United States Attorney
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14                                     BRAN DON D. FOX
                                       Assistant United States Attorney
15                                     Chief, Criminal Division

16                                     JOSEPH B. WIDMAN
                                       Assistant United States Attorney
17                                     Chief, Riverside Branch Office

18                                     NATASHA HANEY
                                       Assistant United States Attorney
19                                     Riverside Branch Office

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